                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION

UNITED STATES,                                  )              No. 3:00cr169
                                                )
                                Plaintiff       )
                                                )
              v.                                )              ORDER
                                                )
CHAVIS FLOWE,                                   )
                                                )
                                Defendant       )

       Defendant CHAVIS FLOWE pro se moves this Court to review and reconsider (Doc.

No. 205) why his attorney, the US Probation Office, and this Court determined that he was

ineligible for the Retroactive Crack Reduction Amendment (Amendment 706) to the United

States Sentencing Guidelines.

       The Court has reviewed the record and determined once again that he is ineligible for the

retroactive crack reduction. Despite the fact that the Defendant cooperated and eventually

received a downward departure, if Amendment 706 had been in place at his original sentencing,

the guideline sentence would still have been the mandatory statutory minimum. Thus

Amendment 706 has no effect on his sentence.

       Defendant’s pro se motion for reconsideration (Doc. No. 205) is therefore DENIED.

                                                    Signed: August 4, 2009




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